 Case 18-05157-jrs       Doc 4    Filed 08/01/18 Entered 08/01/18 19:24:10            Desc Main
                                   Document     Page 1 of 7


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                  )            CASE NO. 17-56829-JRS
                                        )
CLARK BARBER and                        )            CHAPTER 7
AQUA CHIFFON BARBER,                    )
                                        )
              Debtor.                   )
____________________________________/
                                        )
NEIL C. GORDON                          )
as Chapter 7 Trustee for the estates of )
Clark Barber and Aqua Chiffon Barber    )
                                        )
              Plaintff,                 )            ADVERSARY PROCEEDING
v.                                      )
                                        )            NO. 18-05157-jrs
AQUA CHIFFON BARBER,                    )
FRANCIS STORMY HILTS                    )
CHRISTINE CLARK HILTS,                  )
BURGESS TITLE & ESCROW LLC and )
FIRST AMERICAN TITLE COMPANY )
                                        )
              Defendants.               )
____________________________________/


 ANSWER OF AQUA CHIFFON BARBER TO COMPLAINT FOR REVOCATION OF
     DISCHARGE PURSUANT TO 11 U.S.C §727(d)(2) AND OTHER RELIEF


         COMES NOW, Aqua Chiffon Barber (“Defendant”) by and through undersigned

counsel, to answer Neil C. Gordon (“Plaintiff”) as to the factual allegations in the complaint.



             PRELIMINARY STATEMENT AND AFFIRMATIVE DEFENSES

         Defendant made an error in her 341 hearing testimony when she stated that her father had

died without a will.   Only after her mother died in 2015 did Defendant locate her father’s will.
 Case 18-05157-jrs       Doc 4     Filed 08/01/18 Entered 08/01/18 19:24:10            Desc Main
                                    Document     Page 2 of 7


The erroneous statement was unintentional and a mistake of fact. Indeed, as it was against her

interest, there is no reason to suspect she would have fabricated the absence of a will. Because

Defendant’s mother died more than 180 days after the Petition Date, the property in question was

never part of the bankruptcy estate, and all related counts must therefore fail.



                           PARTIES, JURISDICTION AND VENUE

       1.      The allegations of paragraph 1 to 4 are admitted.

                                          PARTIES

       2.      The allegations of paragraph 5 to 18 are admitted.

                                            FACTS

       19.     The allegations of paragraph 19 are admitted. At the time of the testimony,

Defendant thought this to be correct. She later learned that her father had died with a will,

       20.     The allegations of paragraph 20 are admitted.

       21.     The allegations of paragraph 21 set forth a conclusion of law to which no

response is required. However, because the father had no died intestate, no such 1/3 interest ever

entered the bankruptcy estate.

       22.     The allegations of paragraph 22 do not require a response. The documents speak

for themselves.

       23.     The allegations of paragraph 23 are denied.

       24.     The allegations of paragraph 24 do not require a response. The documents speak

for themselves.

       25.     Admitted.
 Case 18-05157-jrs        Doc 4   Filed 08/01/18 Entered 08/01/18 19:24:10        Desc Main
                                   Document     Page 3 of 7


       26.     Admitted.    Defendant located and learned of her father’s will only when

inspecting and administering the papers and belongings of her deceased mother.

       27.     The allegations of paragraph 27 are admitted as to the existence of the

encumbrance, the remaining allegations are denied.

       28.     The allegations of paragraph 28 are admitted. The documents speak for

themselves.

       29.     The documents speak for themselves.

       30.     Admitted.

       31.     Defendant is without knowledge and therefore denies the allegations of paragraph

31 of the Complaint.

       32.     The allegations of paragraph 32 do not require a response. The documents and

docket items speak for themselves. However, Defendant had no knowledge of these filings until

after the hearing date.

       33.     Defendant admits that she did not attend the hearing on April 10, 2018 because

she was unaware of the existence of the hearing.

       34.     The allegations of paragraph 34 are denied.

       35.     The allegations of paragraph 35 are admitted.

       36.     Defendant is without knowledge and therefore denies the allegations of

paragraphs 36 through 38 of the Complaint.

                                               COUNT I

       39.     The allegations of paragraph 39 do not require a response.
 Case 18-05157-jrs        Doc 4        Filed 08/01/18 Entered 08/01/18 19:24:10   Desc Main
                                        Document     Page 4 of 7


        40.     The allegations of paragraph 40 are denied.       Defendant never acquired any

interest in the Property because her father died testate and his interest passed to Defendant’s

mother.

        41.     The allegations of paragraph 40 are denied.      Because Defendant acquired an

interest in the Property in 2015, more than 180 days after the Petition Date, the interest was

never part of the bankruptcy estate,

        42.     The allegations of paragraph 42 set forth a conclusion of law to which no

response is required.

                                                 COUNT II

        43.     The allegations of paragraph 43 do not require a response.

        44.     The allegations of paragraph 44 are denied.

        45.     The allegations of paragraph 45 are denied.

        46.     The allegations of paragraph 46 are denied.

        47.     The allegations of paragraph 47 set forth a conclusion of law to which no

response is required.

                                                 COUNT III

        48.     The allegations of paragraph 48 do not require a response.

        49.     The allegations of paragraph 49 are denied. The transfer occurred in excess of

three years after the Petition date.

        50.     The allegations of paragraph 50 set forth a conclusion of law to which no

response is required. But the Property was never part of the estate.

        51.     The allegations of paragraph 51 are admitted.

        52.     The allegations of paragraph 52 are denied.
 Case 18-05157-jrs       Doc 4    Filed 08/01/18 Entered 08/01/18 19:24:10         Desc Main
                                   Document     Page 5 of 7


        53.    The allegations of paragraph 53 are denied.

        54.    The allegations of paragraph 54 are denied.

        55.    The allegations of paragraph 55 set forth conclusions of law to which no response

is required.

                                                COUNT IV

        56.    The allegations of paragraph 56 do not require a response.

        57.    The allegations of paragraph 57 are admitted to the extent that Mr. Hilts and Ms.

Hilts were the grantees to the property transfer.

        58.    The allegations of paragraph 58 set forth conclusions of law to which no response

is required.

                                                COUNT V

        59.    The allegations of paragraph 59 do not require a response.

        60.    The allegations of paragraph 60 set forth conclusions of law to which no response

is required.

        WHEREFORE, based on the foregoing, Defendant demands judgment dismissing the

complaint and awarding attorney’s fee and costs of suit.



        Respectfully submitted this 1st day of August, 2018.

                                                                /s/ Howard P. Slomka
                                                                Howard P. Slomka, Esquire
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 Case 18-05157-jrs       Doc 4     Filed 08/01/18 Entered 08/01/18 19:24:10             Desc Main
                                    Document     Page 6 of 7


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CHRISTINE CLARK HILTS,                  )
BURGESS TITLE & ESCROW LLC and )
FIRST AMERICAN TITLE COMPANY )
                                        )
              Defendants.               )
____________________________________/

                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served a copy of the within ANSWER OF AQUA

CHIFFON BARBER TO COMPLAINT FOR REVOCATION OF DISCHARGE PURSUANT

TO 11 U.S.C §727(d)(2) AND OTHER RELIEF in the above styled case by depositing same in the

United States mail with the adequate postage affixed thereto to insure delivery addressed as follows:
Case 18-05157-jrs     Doc 4     Filed 08/01/18 Entered 08/01/18 19:24:10        Desc Main
                                 Document     Page 7 of 7




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      Respectfully submitted this 1st day of August, 2018.

                                                             /s/ Howard P. Slomka
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